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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Norfolk Division

SAS ASSOCIATES 1, LLC, et al.,                    )
                                                  )
       Plaintiffs,                                )
v.                                                )       Case No. 2:21-cv-491-RAJ-DEM
                                                  )
CITY COUNCIL FOR THE CITY OF                      )
CHESAPEAKE,                                       )
                                                  )
       Defendant.                                 )

                                   NOTICE OF APPEAL

       NOW COME Plaintiffs SAS Associates 1, LLC and Military 1121, LLC (collectively

“Plaintiffs”), by counsel, and pursuant to Rule 4 of the Federal Rules of Appellate Procedure,

hereby note their appeal from the Court’s Memorandum Opinion and Order of May 25, 2022,

granting the Defendant’s Motion to Dismiss and removing this action from the docket. ECF No.

16.

                                           Respectfully submitted,

                                           SAS ASSOCIATES 1, LLC AND MILITARY
                                           1121, LLC,

                                           By: /s/ Robert W. McFarland
                                           Robert W. McFarland (VSB # 24021)
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                               CERTIFICATE OF SERVICE

        I hereby certify that on the 23rd day of June, 2022, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system which will send notification of
such filing to registered parties.


                                            /s/ Robert W. McFarland
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